     Case 2:05-cr-00180-LRS    ECF No. 262   filed 12/21/06    PageID.847 Page 1 of 1




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                               UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF WASHINGTON
10
      UNITED STATES OF AMERICA,                 )
11                                              )    No. CR-05-180-LRS-6
                        Plaintiff,              )
12                                              )    ORDER GRANTING UNOPPOSED
      v.                                        )    MOTION TO MODIFY
13                                              )
      HEIDI KAE LORHAN,                         )
14                                              )
                        Defendants.             )
15                                              )

16         BEFORE THE COURT is Defendant’s unopposed Motion to Modify

17   Conditions of Release (Ct. Rec. 259).             For good cause shown,

18         IT   IS   ORDERED      the   Motion      (Ct.      Rec.    259)   is   GRANTED.

19   Defendant’s conditions of release are MODIFIED as follows:

20         1.    Defendant shall be allowed work at A+ Institute and have

21   contact with Co-Defendant Roberta Markishtum.                   In addition, she may

22   have access to computers and to the internet at work only for work-

23   related purposes.

24         DATED December 21, 2006.

25
26                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING UNOPPOSED MOTION TO AMEND - 1
